      Case 2:06-cr-00071-MHT-SMD Document 279 Filed 10/09/07 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                        *
     PLAINTIFF                                  *
                                                *
       v.                                       *   CR. NO. 2:06-CR-0071-MEF
                                                *
BERNETTA LASHAY WILLIS,                         *
    DEFENDANT                                   *


                       UNOPPOSED MOTION TO CONTINUE
                   SENTENCING HEARING AND SET PSI DEADLINES


       Comes now Defendant Bernetta LaShay Willis, through counsel, and moves the Court to

continue the sentencing hearing presently set for October 18, 2007 and further moves the court to

set deadlines for objections to the Probation Officer’s Presentence Investigation Report (PSR)

and in support thereof states as follows:

       1.   This matter was last set for a sentencing hearing to be heard on August 18, 2007.

       2.   On July 9, 2007, subsequent to the Court’s granting Defendant’s Motion for

Psychological Evaluation, the Court continued Defendant’s sentencing hearing “until further

order from the Court” pending receipt of the psychological evaluation. In the order no mention

was made whether the previously set deadlines were also continued.

       3.   The psychological evaluation was received on September 28, 2007 and the Court

entered an Order setting sentencing for October 18, 2007.

       4.   Subsequent to the Court continuing the previous sentencing hearing, counsel for

Defendant and counsel for the Government discussed the deadlines for responding to the PSR

with the Probation Officer. It was understood by all that new deadlines would be set upon receipt
      Case 2:06-cr-00071-MHT-SMD Document 279 Filed 10/09/07 Page 2 of 3




of the psychological report since it may become necessary for the Probation Officer to consider

the psychological evaluation in a revised report1.

       5.   Both counsel for Defendant and counsel for the Government have expressed verbally

to the Probation Officer their intent on filing responses and/or objections to the PSR.

       6.   Due to the press of other more immediate matters, neither counsel for the

Government nor counsel for Defendant have prepared their objections for a written response to

the PSR.

       7.   The undersigned has conferred with the Probation Officer and counsel for the

Government and both concur with Defendant’s Motion to continue the sentencing hearing and to

set new deadlines for the submission of formal objections to the PSR.

       Wherefore, the above matters considered, defendant prays this Court enter an order

continuing the sentencing hearing for a date not sooner than three weeks from the date of the

Court’s Order and further setting new deadlines within which the parties have to respond to the

Probation Officer’s PSR.

       Respectfully submitted this day, October 9, 2007.



                                                     /s/Timothy C. Halstrom
                                                     Timothy C. Halstrom
                                                     Bar Number HAL021
                                                     Attorney for Defendant Willis




       1
          In a phone conversation with the Probation Officer in preparation for this Motion, the
P.O. advised that after reviewing the evaluation she has determined that it will not be necessary
for her to revise the PSR.
      Case 2:06-cr-00071-MHT-SMD Document 279 Filed 10/09/07 Page 3 of 3




Of Counsel:
Timothy C. Halstrom
Bar # HAL021
Attorney At Law
4170 Lomac Street
Montgomery, Alabama 36106
(334)272-6464
(334)244-7474 - fax
halstromtim@aol.com - email




                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 9, 2007, I electronically filed the foregoing with the Clerk
of the Court using CM/ECF system which will send notification of such filing parties and their
attorneys.



                                                              /s/Timothy C. Halstrom
                                                              Timothy C. Halstrom
                                                              Bar Number HAL021
